                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                TERRE HAUTE DIVISION

DENNIS DINWIDDIE,                           )
                                            )
Petitioner,                                 )
                                            )
v.                                          )       Cause No. 2:18-cv-00149-JMS-MJD
                                            )
J. E. KRUEGER, Warden,                      )
                                            )
Respondent.                                 )



                                            ORDER

       This matter is before the Court on Petitioner’s motion for a ten (10) day extension of time

to reply to the Respondent’s Answer.

       The Court, being duly advised in the premises, now GRANTS the motion, dkt. [21], finding

it to be made for good cause.

       The Petitioner shall have to and including October 26, 2018, to file his reply to the

Respondent’s Answer to Show Cause.



         Date: 10/18/2018




Distribution:

All electronically registered counsel of record via CM/ECF
